     Case 4:05-cv-00050-JLK-mfu           Document 69         Filed 08/31/06      Page 1 of 1
                                          Pageid#: 749



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 DANVILLE DIVISION

                                                      )
STEPHANIE B. HALL,                                    )   Case No. 4:05-CV-00050
                                                      )
               Plaintiff,                             )
                                                      )   ORDER
v.                                                    )
                                                      )
WAL-MART STORES EAST, LP,                             )   By: Jackson L. Kiser
                                                      )       Senior United States District Judge
               Defendant.                             )
                                                      )
                                                      )

       For the reasons stated in the accompanying Memorandum Opinion, Plaintiff’s Motion for

New Trial is GRANTED.

       The Clerk is directed to send a copy of this Order and the accompanying Memorandum

Opinion to all counsel of record and, in consultation with counsel, set the case for a new trial.

       Entered this 31st day of August, 2006.



                                                      s/Jackson L. Kiser
                                                      Senior United States District Judge
